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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

CRYSTAL BROWN, SARAN CRAYTON,                   )
SAMANTHA SLONIM, CELESTE                        )
ADDYMAN, ERIKA KNIERIM and JULIE                )
HULL, et al., on Behalf of Themselves and a     )
Class of Similarly Situated Persons,            )   Case No. 17-cv-8085
                                                )
                        Plaintiffs,             )   Judge Matthew Kennelly
                                                )
COOK COUNTY; AMY CAMPANELLI, in                 )
her capacity as Public Defender of Cook         )
County; and THOMAS DART, in his official        )
capacity as Sheriff of Cook County,             )
                                                )
                       Defendants.              )



                 MEMORANDUM OF LAW IN SUPPORT OF THE
              PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL
                  OF PROPOSED CLASS ACTION SETTLEMENT



                                      Robin Potter, Esq.
                                   M. Nieves Bolaños, Esq.
                                 POTTER BOLAÑOS, LLC
                              111 East Wacker Drive, Suite 2600
                                   Chicago, Illinois 60601
                                       (312) 861-1800
                                    robin@potterlaw.org
                                    nieves@potterlaw.org

                 ATTORNEYS FOR THE PLAINTIFFS AND THE CLASS
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       I.      INTRODUCTION

       The Class Representatives, plaintiffs Crystal Brown, Saran Crayton, Samantha Slonim,

Celeste Addyman, Erika Knierim, and Julie Hull, bring this Motion to request preliminary

approval of the class action settlement reached by the parties in this action. The settlement

follows more than two years of highly contested litigation and months of arm’s length

negotiations supervised by the Court. It is fair, reasonable, and adequate within the meaning of

Rule 23. After the Court entered its Agreed Preliminary Injunction Orders in November 2017,

the masturbation incidents complained of substantially declined. The Settlement Agreement

provides that specific and effective injunctive relief measures will remain in force for an

additional two years following final approval. It also provides a substantial monetary award to

class members to be distributed pro rata based on responses to claim forms that will be scored

by an experienced neutral third-party administrator who has previously administered similar

settlements. The settlement should therefore be preliminarily approved, notice sent to the class,

and a final approval hearing scheduled, as requested in the proposed Order attached as Exhibit 1.

       II.     RELEVANT FACTS

               a.      Procedural Background

       The Plaintiffs filed this action on November 8, 2017. See, Doc. #1, 81, 202. Plaintiffs

alleged that the CCSO enacted policies and practices which fostered an environment in the

courtroom lockups and jail whereby male detainees masturbated at female APDs and law clerks

with de facto impunity. Id. Plaintiffs alleged that the CCPD maintained a hostile work

environment and retaliated against female APDs by requiring female APDs and law clerks to

visit the lockups and jail knowing that they would be attacked, by discouraging female APDs and


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law clerks from reporting attacks, by opposing measures implemented by the CCSO including

but not limited to, handcuffing and legislation that were intended to stop the attacks, by requiring

female APDs who had been victimized to represent detainees in charges relating to masturbation

or indecent exposure, and by banning APDs from entering the lockups in the Leighton Criminal

Courthouse in retaliation for Plaintiffs’ filing of discrimination charges with the EEOC . Id.

Plaintiffs alleged that Cook County created the hostile work environment by also requiring

female APDs and law clerks to visit the lockups and jail as a condition of employment, by

pulling funding for measures intended to thwart the sexual attacks, and by failing to use its

authority over construction and maintenance of correctional and court facilities to create safe

spaces for APDs and law clerks to meet with detainees. Id. Defendants deny these allegations

and deny liability for the conduct at issue in this suit. See, Docs. 137-139.

       On November 9, 2017, Plaintiffs filed their Motion for Entry of Temporary Restraining

Order and Scheduling of Preliminary Injunction Hearing. Doc. #9. On November 28, 2017, the

Court entered Agreed Preliminary Injunction Orders between Plaintiffs and the CCSO (Doc. 45)

and the CCPD (Doc. 46). These Orders have remained in effect since that time and have imposed

significant requirements on the Defendants. Inter alia, pursuant to these Orders, the CCSO was

required to take remedial measures, including to: preserve reports relating to masturbation

incidents; issue a directive barring CCSO personnel from discouraging reports; issue an email to

the CCPD outlining the disciplinary procedures for detainees accused of masturbation; provide a

copy of the incident report to the APD upon request; require all detainees with a reported

masturbation incident to wear a special jumpsuit designed to deter future attacks; require

detainees with a reported incident to remain handcuffed during transport to and in the courthouse


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and that they be kept on the “bridge” and not in the lockups; assign a deputy to the courtrooms in

floors 4-7 of the Leighton Criminal Courthouse when detainees are present. Inter alia, pursuant

to these Orders, the CCPD was required to maintain a policy prohibiting retaliation, withdraw the

“lockup ban” prohibiting APDs from entering the lockups at the Leighton Criminal Courthouse,

and to disseminate policies and procedures regarding detainee masturbation and sexual

misconduct that were implemented by the CCSO. Doc. #46.

       On January 31, 2018, Plaintiffs filed their First Amended Complaint (“FAC”) (Doc. #81)

and Defendants moved to dismiss it. Docs. #91, 102. Following extensive briefing (see, Docs.

#107, 110), the Court denied Defendants’ Motions on June 26, 2018. Doc. #122.

       On May 14, 2019, Plaintiffs filed their Motion for Class Certification. Doc. #202. On

August 12, 2019, following extensive briefing, the Court certified a Hostile Work Environment

class defined as: All female assistant public defenders (not including supervisors) and law clerks

who have worked for the defendants from November 1, 2015 through the present and who have

visited the jail and/or lockup in connection with their employment. Doc. 218, at 39. The Court

denied without prejudice Plaintiffs’ Motion to certify the retaliation class and gave leave to refile

the Motion with a revised class definition. Id., at 35-37. On October 28, 2019, Plaintiffs mailed

Notice to the class pursuant to the Court’s Order. Following the mailing, seven out of over

approximately 534 putative class members opted out of the action.

       b.      The Parties Thoroughly Investigated the Case

       The class representatives and class counsel thoroughly investigated the claims prior to

reaching the settlement. Exh. 2, M. Nieves Bolaños Declaration, ¶¶ 4-20. During discovery, the

CCSO, CCPD and County produced more than 145,000 pages of documents, including inter alia


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the Defendants’ policies, reports relating to detainee masturbation attacks and sexual misconduct

directed toward female APDs and law clerks, correspondence between and among the

Defendants relating to the issues in the suit, internal correspondence between and among

Defendants’ managerial employees, notes, files maintained by the County’s EEO office,

personnel files of the named plaintiffs and class representatives, and other relevant documents.

Id., ¶ 12. The CCSO, CCPD, and Cook County each answered sworn interrogatories. Id., ¶13.

The three Defendants answered a total of 244 Requests to Admit relating to the core issues in the

suit. Id., ¶14.

        The Class Representatives and the Named Plaintiffs (Rocio Armendariz, Brett Gallagher,

Rachelle Hatcher, Kyan Keenan, Takenya Nixon, Carly Patzke, Stephanie Schlegel, Ashley

Shambley, Coryn Steinfeld, Niyati Thakur, and Julie Willis) each answered sworn

interrogatories. Id., ¶15. The Class Representatives and Named Plaintiffs also searched for,

reviewed and produced voluminous documents, including emails, text messages, social media

posts relating to the issues in the suit, voluminous medical records relating to injuries sustained,

policies, and other relevant documents and information in their possession. Id., ¶15.

        Nine of the plaintiffs (Celeste Addyman, Crystal Brown, Saran Crayton, Brett Gallagher,

Rachelle Hatcher, Julie Hull, Erika Knierim, Samantha Slonim, and Julie Willis) gave extensive

depositions on all topics relevant to the suit, including damages. Id., ¶17. The Plaintiffs took

seven depositions: Amy Campanelli (the Cook County Public Defender), Brad Curry ( CCSO’s

Chief of Staff), Karen Dimond (CCPD’s Deputy for Employment Litigation and Financial

Development), Lester Finkle (CCPD’s Chief of Staff), Michael Morrisey ( CCPD’s Deputy),

Cara Smith (CCSO’s Chief Policy Officer) and Marc Stahl (CCPD’s Chief of the Felony Trial


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Division). Id., ¶18. This discovery, along with the extensive briefing in connection with the

Motions to Dismiss and Plaintiffs’ Motion for Class Certification, and the months of mediation

sessions and settlement discussions that occurred under the supervision of this Court, enabled

class counsel and the class representatives to fully assess the adequacy of the settlement. Id., ¶19.

       III.    THE PROPOSED SETTLEMENT

       The terms of the Settlement are contained in the Joint Stipulation of Settlement and

Release. Exh. 2, Attachment A. The following summarizes the key terms:

       a.      The Proposed Settlement Class and Class Period

       The settlement provides and Plaintiffs ask here that the Court affirm its certification of

the class composed of:

       All female assistant public defenders (not including supervisors) and female law clerks
       who have worked for the Defendants for any period of time from November 1, 2015
       through and including October 28, 2019 and who have visited the jail and/or lockup in
       connection with their employment and whose names appear on the Class List attached [to
       the Settlement Agreement] as Exhibit 1.

Exh. 2; Attachment A (Para. 3); Exhibit A to Settlement Agreement (Class List).

       b.      Injunctive Relief to Class Members

       A primary reason that the case can settle at this time is that the injunctive relief entered

by the Court in November 2017, as summarized above, has been effective in preventing further

attacks on female APDs and law clerks. As Plaintiffs set forth in their Motion for Class

Certification, Doc. #193, the detainee sexual attacks substantially abated following

implementation of these remedial measures, and the number of reported incidents dramatically

declined after January 2018. See, Doc. #202, at 30. The mitigation of detainee sexual attacks is a

major achievement of this Litigation. The Settlement Agreement ensures that the key elements of


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this relief will remain in effect for a period of two years following the entry of a final non-

appealable Order. See, Settlement Agreement, ¶ ¶ 27a - 27c, 39. Many class members remain

employed by the Defendants and are currently benefitting and will continue to benefit from these

measures and the relief they provide.

       c.      Monetary Relief

       The Settlement Fund is $14,000,000. Settlement Agreement, ¶ 24. The Settlement

Agreement provides that class counsel and the Claims Administrator will determine the

allocation of the settlement fund. Id., ¶25. Class Counsel have proposed the following allocation

subject to approval by the Court:

       Pro Rata Distribution Based on Claim Form Responses. A minimum of $9,510,000

from the Settlement Fund will be distributed to the Class Representatives, the Named Plaintiffs

and class members pro rata based on responses to Claim Forms that will be scored by the Claims

Administrator. Exh. 2, ¶30. The Settlement Agreement provides that, subject to court approval,

Eric Schachter, of A.B. Data, Ltd., will serve as Claims Administrator and will administer the

settlement and mail Notice and claim forms to class members. Settlement Agreement, ¶20c. Mr.

Schachter has previously administered two large class action settlements in cases involving

sexual harassment by inmates. Exh. 2, ¶32-35. The Claim Form asks for detailed information

relating to the class members’ dates of employment, the number and severity of harassing

incidents suffered, emotional and physical damages, and damages to career that were suffered,

the number of incidents reported, and participation in this suit. See, Exhibit 2, Attachment F.

       The proposed Notice is patterned after the Notice this Court approved in Brand v.

Comcast, No. 1:11-cv-08471, Doc. 155-6. All Class Members will be sent Notice by first-class


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mail, with the option thereafter to obtain additional information. The Claims Administrator shall

promptly conduct a second mailing for any Class Member whose Notice is returned as

undeliverable within forty-five (45) days of the date of the initial mailing, provided that a

forwarding address is provided by the U.S. Postal Service or otherwise located by his best

efforts. Exh. 2, ¶34. The proposed Notice includes all essential information about the lawsuit

required under Rule 23, including the persons affected, class definition, the nature of the action,

the possibility of, and method for, opting-out, along with a description of the various methods of

obtaining additional information. See, Fed.R.Civ.P 23(c)(2)(B). Class Members seeking

information beyond the essential details can request such information by contacting Plaintiffs’

Counsel.

       Service Payments. Class Counsel will apply for service payments of $25,000 for each of

the six Class Representatives to compensate them for the time and effort they devoted to

representing the Class in this case, including the dozens of hours they spent consulting with

Class Counsel about the case and settlement, providing depositions and discovery, and in

exchange for a general release. Exh. 2, ¶40-44. Class Counsel will also apply for service

payments of $15,000 for the three Named Plaintiffs who gave depositions; $10,000 for the eight

Named Plaintiffs who answered sworn interrogatories (but did not give depositions); and $5,000

for three class members who assisted the suit by providing sworn testimony and/or met with

class counsel extensively to help prepare the suit to be filed. Id. These proposed service

payments are comparable to payments awarded by courts in this District. Chesemore v. Alliance

Holdings, Inc., No. 09-cv-413-wmc, 2014 U.S. Dist. LEXIS 123873, at *17 (W.D. Wis. Sep. 4,

2014) (Noting, “[D]istrict courts in this circuit have awarded incentive fee awards ranging from


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$5,000 to $25,000.”); Briggs v. PNC Fin. Servs. Grp., No. 1:15-cv-10447, 2016 U.S. Dist.

LEXIS 165560, at *9 (N.D. Ill. Nov. 29, 2016) (citing empirical study finding that the mean

incentive award in employment class actions is approximately $12,000).

       Attorneys’ Fees, Costs and Costs of Administration. Prior to the close of the objection

period, Class Counsel will also apply for their reasonable attorneys’ fees and costs in an amount

up to thirty percent (30%) of the Settlement Fund which equals Four Million Two-Hundred

Thousand Dollars ($4,200,000). Exh. 2, ¶45-48. The costs of notice and administration of the

settlement will be paid out of included this amount. Id. If the Court rejects any of the fees or

costs sought by Class Counsel and does not reconsider its decision, those amounts will be added

to the Class Member fund. Id.

       Under the common fund doctrine, “a litigant or a lawyer who recovers a common fund

for the benefit of persons other than himself or his client is entitled to a reasonable attorney’s fee

from the fund as a whole.” Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980). The common

fund doctrine “is based on the equitable notion that those who have benefitted from litigation

should share in its costs.” Sutton v. Bernard, 504 F.3d 688, 691-92 (7th Cir. 2007), citing Skelton

v. Gen. Motors Corp., 860 F.2d 250, 252 (7th Cir. 1988). A 30% fee is in line with comparable

settlements and should be preliminarily approved. Taubenfeld, 415 F.3d at 600 (Noting, “Lead

counsel submitted a table of thirteen cases in the Northern District of Illinois where counsel was

awarded fees amounting to 30-39% of the settlement fund.”); Goldsmith v. Tech. Solutions Co.,

No. 92 C 4374, 1995 U.S. Dist. LEXIS 15093, at *27 (N.D. Ill. Oct. 10, 1995) (citing decisions

from the N.D. Ill. in class action cases in which fees were awarded between 32% and 39% of the




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recovery); Brand v. Comcast, No. 11-cv-8471, Doc. 169 (Final approval Order approving class

counsel’s petition for attorney’s fees in the amount of 40% of settlement fund (Doc. 163)).

       IV.     THE COURT SHOULD GRANT PRELIMINARY APPROVAL

       As a matter of public policy, federal courts strongly favor and encourage settlements,

particularly in class actions and other complex matters, where the inherent costs, delays, and

risks of continued litigation might otherwise overwhelm any potential benefit the class could

hope to obtain. Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992) (noting that

“strong judicial policy . . . favors settlements, particularly where complex class action litigation

is concerned”); see also 2 Herbert B. Newberg & Alba Conte, Newberg on Class Actions § 11.41

(3d ed. 1992) (collecting cases). The Manual for Complex Litigation describes a three-step

procedure for approval of class action settlements:

       (1)     Preliminary approval of the proposed settlement at an informal hearing;

       (2)     Dissemination of mailed and/or published notice of the settlement to all affected
               class members; and

       (3)     A “formal fairness hearing” or final settlement approval hearing, at which class
               members may be heard regarding the settlement, and at which evidence and
               argument concerning the fairness, adequacy, and reasonableness of the settlement
               may be presented.

Manual for Complex Lit., at § 21.632–34. During the preliminary approval stage, the district

court decides whether the proposed settlement falls “within the range of possible approval.”

Cook v. McCarron, No. 92 C 7042, 1997 U.S. Dist. LEXIS 1090, at *24-25 (N.D. Ill. Jan. 22,

1997) (citation omitted). If so, the court should grant preliminary approval of the settlement,

authorize the parties to give notice of the proposed Settlement to Class Members, and schedule a

formal fairness hearing. Id.; Gautreaux v. Pierce, 690 F.2d 616, 621 n.3 (7th Cir. 1982). At the


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formal fairness hearing, Class Members may be heard and further evidence and argument

concerning the fairness, adequacy, and reasonableness of the Settlement may be presented.

        a.      The Criteria for Preliminary Settlement Approval Are Satisfied.

        A proposed class settlement will be preliminarily approved if it is “fair, reasonable, and

adequate.” Fed. R. Civ. P. 23(e)(2); Synfuel Techs., Inc. v. DHL Express (USA), Inc., 463 F.3d

646, 652 (7th Cir. 2006). In evaluating whether this burden is met, courts in this District consider:

(1) the strength of plaintiffs’ case compared with the terms of the proposed settlement; (2) the

likely complexity, length and expense of continued litigation; (3) the amount of opposition to

settlement; (4) the opinion of competent counsel; and (5) the stage of the proceedings and the

amount of discovery completed. Synfuel, 463 F.3d at 653; Isby v. Bayh, 75 F.3d 1191, 1199 (7th

Cir. 1996). A court must not focus on an individual component of the compromise but must

instead view the settlement in its entirety. Isby, 75 F.3d at 1199.

                1.      Strength of Plaintiffs’ Case As Compared to the Amount of the Settlement
                        and Allocation of the Settlement Payment

        A key consideration in evaluating a proposed settlement is the strength of the plaintiffs’

case as compared to the amount of the defendants’ offer. See Isby, 75 F.3d at 1199. District

courts should refrain from resolving the merits of the controversy or making a precise

determination of the parties’ respective legal rights in deciding; courts should instead focus on

general principles of fairness and reasonableness, not on the substantive law governing

Plaintiffs’ claims. EEOC v. Hiram Walker & Sons, Inc., 768 F.2d 884, 889 (7th Cir. 1985). A

settlement is fair if it gives plaintiffs the expected value of their claim if it went to trial, net of the

risks and costs of trial. Mars Steel Corp. v. Continental Ill. Nat’l Bank & Trust, 834 F.2d 677,

682 (7th Cir. 1987) (finding adequate a settlement of ten percent of the total sought due to risks

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and costs of trial); Hiram Walker & Sons, Inc., 768 F.2d at 891 (settlement approved because

“there [was] no showing that the amounts received by the beneficiaries were totally inadequate”).

       The proposed settlement provides an excellent result when considered against the costs

and risks of trial. As set forth above, the settlement ensures that the key measures from the

agreed injunctive orders (including for instance jumpsuits and handcuffing) that have been

effective in remediating the HWE will remain in place for at least two years following final

approval. Given how severe and pervasive the climate of harassment was in the two years prior

to filing suit, the benefit of this relief cannot be overstated. See, Doc. 202, at 10-32.

       The monetary relief requested is also substantial and is comparable to that awarded in

similar cases relating to detainee masturbation and sexual harassment, including Ferguson et al.

v. Whitaker, EEOC No. 480-2016-00563X and White v. Sessions, EEOC No. 510-2012-00077X.

Exh. 2, ¶¶25-29. Further, the risk of continued litigation also weighs in favor of settlement.

Although Plaintiffs are confident in the merits of their claims, it is possible that a jury or the

Court could potentially rule against them on some (or all) of the complex legal and fact intensive

issues of liability and damages, in this litigation, including for instance, whether the CCSO is

liable under Title VII (due to its unique employment relationship with the class), whether any of

the Defendants acted “intentionally” within the meaning of 42 U.S.C. Section 1983, whether the

CCPD and County took reasonable corrective measures to remedy the harassment in the lockups

and jail, and whether the state law claims are barred or limited by the Tort Immunity Act. Id.

               2.      Complexity, Length, and Expense of Further Litigation

       A second factor to be considered by the Court is the complexity, length, and expense of

litigation that will be spared by the proposed settlement. In re Mexico Money Transfer Litigation,


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164 F. Supp. 2d 1002, 1019 (N.D. Ill. 2000). Absent settlement, Defendants would continue to

vigorously defend the case. Further litigation would require depositions and additional discovery

from class members, additional motion practice relating to discovery and other issues, the

retention of expert witness(es), and dispositive and pretrial motions would be certain. Exh. 2,

¶¶28-29. Absent settlement, Plaintiffs and the Class Members may also be required to confront

appeals. Id. Additional litigation would increase the expenses of this litigation but would not

reduce the risks the litigation held for the Class. See Isby, 75 F.3d at 1199; see also In re Mexico

Money Transfer Litig., 164 F. Supp. 2d at 1019; Great Neck Capital Appreciation Inv. P’ship,

L.P. v. PricewaterhouseCoopers (In re Harnischfeger Indus., Inc.), 212 F.R.D. 400, 409-10

(E.D. Wis. 2002). The settlement provides resolution to contested litigation between a class

comprised largely of current employees against their current employer, another important

benefit. Id.

               3.      There Is No Known Opposition to the Settlement

        The class representatives support the settlement, as do Plaintiffs’ Counsel and

Defendants. At this preliminary stage, Plaintiffs’ counsel is unaware of any opposition to the

settlement, which provides an excellent result to all class members. Exh. 2, ¶¶49-50.

               4.      Opinion of Counsel

        Plaintiffs’ Counsel are experienced in class action litigation and had a substantial amount

of information to evaluate, negotiate and make well-informed judgments about the adequacy of

the Settlement, as set forth above. In Plaintiffs’ Counsel’s opinion, the Settlement is fair,

reasonable and adequate. Exh. 2, Exh. 3. When experienced counsel supports the settlement, as

they do here, their opinions are entitled to considerable weight. See In re Mexico Money Transfer


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Litigation, 164 F. Supp. 2d 1002, 1020 (N.D.Ill. 2000); Reed v. General Motors Corp., 703 F.2d

170, 175 (5th Cir. 1983). Counsel exercised their experience based on an intimate knowledge of

the facts of the case and the legal issues facing the Class, including conducting an independent

analysis of the strength and weakness of the claims and value of the claims, the time costs and

expense of protracted litigation, discovery, trial and appeals. The Settlement was only reached

after the conclusion of dozens of joint settlement discussions and in person mediation sessions

overseen by the Court. Exh. 2, ¶10; Exh. 3.

               5.      The Stage of the Proceedings and Discovery Completed

       As explained above, this complex class action was resolved only after extensive

discovery was conducted, and protracted briefing relating to the Defendants’ Motions to Dismiss

and class certification. The stage of litigation has advanced so that Plaintiffs’ counsel could fairly

and fully evaluate the value of the settlement. Exh. 2, ¶¶4-19; Exh. 3.

               6.      The Settlement Was the Result of Arm’s Length Negotiations Without Any
                       Hint of Collusion

       The Settlement was the result of adversarial, arm’s length negotiations following

investigation, informal discovery and substantial assistance from the Court. In determining

whether a settlement was reached absent any collusion between the parties, courts look to

whether the settlement negotiation is “intense, vigorous, and at arm’s length.” In re Mexico

Money Transfer Litig., 164 F. Supp. 2d at 1020. The Parties were able to settle this action only

after they engaged in substantial discovery, motion practice and vigorous and prolonged

mediation process overseen by the Court. Such arm’s length negotiations conducted by

competent counsel constitute prima facie evidence of a fair settlement. Berenson v. Fanueil Hall

Marketplace, 671 F. Supp. 819, 822 (D. Mass. 1987) (“where . . . a proposed class settlement has

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been reached after meaningful discovery, after arm’s-length negotiation by capable counsel, it is

presumptively fair.”). In the absence of any evidence of collusion, this factor favors final

approval of the settlement. See Winston v. Speybroeck, No. 3:94-CV-150AS, 1996 U.S. Dist.

LEXIS 12131, at *15-16 (N.D. Ind. Aug. 2, 1996).

        7.      The Criteria in the 2018 Amendments to Rule 23(e)(2) Are Also Met

        On December 1, 2018, Rule 23(e)(2) was amended to set forth a list of criteria a court

must address in determining whether a settlement is fair, reasonable and adequate. Fed.R.Civ.P.

R 23(e)(2) 1; and see, Snyder v. Ocwen Loan Servicing, LLC, No. 14 C 8461, 2018 U.S. Dist.

LEXIS 167471, at *10 (N.D. Ill. Sep. 28, 2018). The Advisory Committee Notes state the goal of

the Amendments is “not to displace” any factor previously relied upon by federal courts, but

rather, is to focus the court on core concerns that should guide its decision whether to approve

the proposal. 2018 Advisory Committee Notes, Fed.R.Civ.P. 23(e)(2). These factors have also

been met, for similar reasons to those set forth above. The class representatives and class counsel

have adequately represented the class, including for the reasons set forth in the Court’s class

certification order. The proposal was negotiated at arm's length, as set forth above. The

settlement treats class members equitably relative to each other – class members will all benefit

(directly or indirectly) from the injunctive relief, and the settlement fund will be distributed

equitably based on class member responses to the claim forms that will be reviewed by a neutral

administrator who has processed similar settlements in two prior cases. As described above, the


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  The factors in Amended Rule 23(e)(2) are: the class representatives and class counsel have adequately
represented the class; the proposal was negotiated at arm's length; it treats class members equitably
relative to each other; and the relief provided by the settlement is adequate, taking into consideration the
costs, risks, and delay of trial and appeal; the effectiveness of the proposed method of distributing relief;
the terms of any proposed award of attorney's fees; any agreements made in connection with the proposed
settlement.
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relief provided by the settlement is adequate, taking into consideration the costs, risks, and delay

of trial and appeal. The effectiveness of the proposed method of distributing relief is adequate for

the aforementioned reasons. The terms of any proposed award of attorney's fees are just as

described above. And, the only agreement made in connection with the proposed settlement is

the settlement itself.

                                         CONCLUSION

         WHEREFORE, for the reasons set forth above, the Court should grant the Motion for

Preliminary Approval of the Proposed Settlement, and issue the Order attached hereto as Exhibit

1.

                                                      Respectfully submitted,

                                                      /s/ Robin Potter and M. Nieves Bolanos
                                                      Class Counsel



Robin Potter, Esq.
M. Nieves Bolaños, Esq.
POTTER BOLAÑOS LLC
111 East Wacker Drive, Suite 2600
Chicago, Illinois 60601
(312) 861-1800
robin@potterlaw.org
nieves@potterlaw.org




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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
Plaintiffs Memorandum of Law in Support of Motion for Preliminary Approval of Class
Action Settlement was served upon all parties by ECF on February 21, 2020.



                                                    By: /s/ Nieves Bolanos
                                                    Attorneys for the Plaintiffs
